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                                 DECLARATION OF WOOK KIM

         1, Wook Kim, hereby certify as follows:

         I.       I am an associate of the firm of Kelley Drye & Warren LLP, which is located at

101 Park Avenue, New York, New York 10178.

        2.        1 have been admitted to practice before the following courts on the date indicated:

                                                                           DATE ADMITTED

The State of New York                                                            10/25/2006

United States District Court for the Southern District of New York               1/15/2008

United States District Court for the Eastern District of New York                1/15/2008

         1        1 am an attorney in good standing and eligible to practice in the above-referenced

jurisdiction.

        4.        1 have not been suspended or disbarred in any j urisdiction , and no disciplinary

actions are pending against me.

         5.       A certificate of good standing for the United States District Court for the Southern

District of New York is attached hereto.

         6.       1 am familiar with the Local Rules of the United States District Court for the

District of Massachusetts and agree to abide by them.




         I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct. Executed on March 12 , 2010.
                                                              I^

                                                 By: - _.   '
                                                       Wook Kim




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CSDNY (11/99) Certificate of God Standing




                            United States District Court
                                            Southern District of New York

                                                                                Certificate of
                                                                                Good Standing

1, J. Michael McMahon Clerk of this Court, certify that



                                   WOOK KIM                                . Bar #   WK3005




                    was duly admitted to practice in this Court on



    JANUARY 15th 2008 , and is in good standing




                                            as a member of the Bar of this Court.




                    500 Pearl Street
Dated at            New York, New York                     on          MARCH 9th, 2010




               J. Michael McMahon                          by
                              Clerk                                       Deputy Clerk
